Case 4:22-md-03047-YGR   Document 736-25   Filed 04/01/24   Page 1 of 3




                             Exhibit 25
    Case 4:22-md-03047-YGR            Document 736-25         Filed 04/01/24      Page 2 of 3




North Carolina Attorney General’s Position: Meta attempts to collapse the structure of state
government and obtain party discovery from legally distinct entities. Meta’s attempt should fail
because the North Carolina Attorney General (NCAG) lacks a legal right to obtain documents on
demand from agencies that are under the control of separately elected constitutional officers.
Meta therefore cannot show the NCAG has actual control over the Department of Commerce,
the Department of Health and Human Services (DHHS), the Department of Public Instruction
(DPI), Office of Governor, or the Office of State Budget and Management (OSBM).

         The NCAG lacks a legal right to obtain documents from the entities identified by Meta.
Each of the entities are legally distinct from the NCAG: The NCAG is an elected constitutional
officer who oversees the North Carolina Department of Justice. N.C. Const. Art. III, § 7;
N.C.G.S. § 1141. The Department of Commerce, DHHS, Office of Governor, and OSBM are
separate principal departments headed by the independently elected Governor. N.C. Const. Art.
III, § 1; N.C.G.S. §§ 143A-11(1); 143B-9(a); 143B-6(2), (9); 143C-2-1(a); see McCrory v.
Berger, 781 S.E.2d 248, 256 n.5 (N.C. 2016) (distinguishing departments headed by
“independently elected” executive officials from those that “fall[] under the Governor’s
purview”). Additionally, DPI is a separate principal department headed by the independently
elected Superintendent of Public Instruction. N.C. Const. Art. III, § 7; N.C.G.S. § 143A-44.3.
North Carolina law unmistakably grants the heads of these principal departments “legal custody
of all books, papers, documents and other records of the department.” N.C.G.S. § 143A-8; see
also id. § 143B-10(f). Given this constitutional and statutory structure, Meta cannot show that
the NCAG has a “legal right to obtain [their] documents upon demand.” See In re Citric Acid
Litig., 191 F.3d at 1107.

        The NCAG’s statutory authorization to represent state agencies, N.C.G.S. § 114-2, does
not create the statutory right to control their documents because the legislature did not “intend[]
to authorize him to make decisions in areas which have been specifically delegated to a
designated department.” Tice v. Dep’t of Transp., 312 S.E.2d 241, 245 (N.C. App. 1984).
Likewise, the NC public records laws referenced in In re Generic cited by Meta does not give
the NCAG the ability to "control" the documents of these agencies, negate the case law cited
above, or change the analysis in any way. These agency documents, not all of which are public
records, are under the legal control of separately elected constitutional officers and each agency
has their own separate processes for responding to public records requests, for example, the
timing of a response, what to produce, or the specific metadata to provide. The NCAG does not
control these public record processes and has no more authority to obtain public records from
these agencies than any other person, including Meta.

        Whether the NCAG’s communications with the entities are privileged is context
specific. The NCAG does not represent any state agencies in this action and brings this action in
the public interest under North Carolina’s consumer protection laws. See N.C.G.S. § 75-15.
Communications between the NCAG’s counsel in this case and the entities identified by Meta
concerning the topics at issue therefore are generally not protected under the attorney-client
privilege. They may be protected by the common interest doctrine or other applicable privileges,
however.




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    Case 4:22-md-03047-YGR             Document 736-25          Filed 04/01/24      Page 3 of 3




Meta’s Position: The North Carolina agencies that Meta has identified—Department of
Commerce, Department of Health and Human Services, Department of Public Instruction, Office
of Governor, and Office of State Budget and Management—are subject to discovery as a matter
of state and Ninth Circuit law. The Attorney General must “represent all State departments,
agencies, institutions, commissions, [and] bureaus.” N.C. Gen. Stat. Ann. § 114-2; see also id.
147-17(b) (similar); Martin v. Thornburg, 359 S.E.2d 472, 479 (N.C. 1987) (“[N.C.G.S. § 114-2]
establishes that it shall be the duty of the Attorney General . . . to represent all State departments,
agencies, and commissions.”). State agencies are prohibited from employing counsel other than
the AG, “except with the approval of the Governor,” who may only grant approval “if the Attorney
General has advised him . . . that it is impractical” for the AG to provide required legal services.
N.C. Gen. Stat. Ann. § 147-17. No statute deprives the AG of access to agency documents. While
the heads of North Carolina agencies possess “legal custody” over agency documents, N.C. Gen.
Stat. Ann. § 143A-8, this “do[es] not speak to the ability of the AGO to obtain documents after
instituting a suit,” In re Generic Pharms. Pricing Antitrust Litig., 2023 WL 6985587, at *4 (E.D.
Pa. Oct. 20, 2023) (rejecting analogous argument by Missouri AG).

Because the North Carolina AG is generally required by law to represent state agencies, which in
turn are barred from retaining private counsel without an AG determination representation by the
AG would be “impractical,” a federal court has already held that the North Carolina AG has
“control” over agency materials—and therefore has discovery obligations with respect to them—
under In re Citric Acid’s “legal right” standard. In re Generic Pharms. Pricing Antitrust Litig.,
2023 WL 6985587, at *4 (E.D. Pa. Oct. 20, 2023). That decision is consistent with other federal
decisions applying In re Citric Acid’s “legal right” standard. See, e.g., Bd. of Educ. of Shelby Cnty.
v. Memphis City Bd. of Educ., 2012 WL 6003540, at *3 (W.D. Tenn. Nov. 30, 2012) (legal right
based on AG’s “statutory duties to handle ‘all legal services,’ ‘direct and supervise’ all litigation,
and ‘represent’ the State of Tennessee,” and the absence of any authority denying the AG the
ability to “obtain responsive documents on demand”); In re Generic Pharms. Pricing Antitrust
Litig., 571 F. Supp. 3d 406, 411 (E.D. Pa. 2021) (legal right based on obligation to “represent[]
Commonwealth agencies” and statute providing that the AG “shall have the right to access at all
times to the books and papers of any Commonwealth agency necessary to carry out his duties”
(cleaned up)).1

The State’s reliance on Tice v. Dep’t of Transp., 312 S.E.2d 241 (N.C. App. 1984), is misplaced.
Tice merely held that the AG could not enter a consent judgment without the consent of his client-
agency, an issue not before this Court. Id. at 242.




1
 Outside this briefing, where North Carolina limits its response to “counsel in this case,” North
Carolina has not taken a position regarding whether communications between the Attorney
General’s office and the relevant agencies are privileged. North Carolina cannot fairly take the
position here that the agencies are not parties, to the extent that it intends to assert that its
communications with these agencies are attorney-client privileged.

                                                  2
